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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF SOUTH DAKOTA
                             SOUTHERN DIVISION


GEORGE ENESCU,                                             4:20-CV-04097-KES

                           Plaintiff,

              vs.                                ORDER DISMISSING COMPLAINT
                                                  FOR FAILURE TO PROSECUTE
UNITED STATES MARSHAL SERVICE,

                           Defendant.


      Plaintiff, George Enescu, filed a prisoner pro se civil rights lawsuit. Docket

1. Under the Prison Litigation Reform Act (PLRA), a prisoner who “brings a civil

action or files an appeal in forma pauperis . . . shall be required to pay the full

amount of a filing fee.” 28 U.S.C. § 1915(b)(1). This Court ordered Enescu to

move for in forma pauperis status or pay the full filing fee by September 28,

2020. Docket 3. At this time, Enescu has not moved for in forma pauperis status

or in the alternative, has not paid the full filing fee.

      Thus, it is ORDERED:

      1. That Enescu’s complaint is dismissed without prejudice for failure to

         prosecute.

      Dated September 29, 2020.

                                 BY THE COURT:

                                 /s/Karen E. Schreier
                                 KAREN E. SCHREIER
                                 UNITED STATES DISTRICT JUDGE
